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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION



    LINDA FARHAT,

          Plaintiff,

    v.                                             CASE NO. 8:21-cv-1319-SDM-MRM

    UNIQUE HEALTHCARE
    SYSTEMS, LLC,

          Defendant.
    __________________________________/


                                               ORDER

          In accord with the parties’ stipulation (Doc. 51), this action is DISMISSED

    WITH PREJUDICE under Rule 41(a)(1)(A)(ii), Federal Rules of Civil Procedure.

    The clerk is directed to close the case.

          ORDERED in Tampa, Florida, on July 25, 2022.
